                         IN THE UNITED STATES DISTRICT COURT
                                       FOR THE
                            EASTERN DISTRICT OF TENNESSEE

    LORI WILHOIT                                  ]
                                                  ]
           Plaintiff,                             ]
                                                  ]
    v.                                            ]      Civil Action No. 2:08-cv-00304
                                                  ]
    TIME INSURANCE COMPANY                        ]
                                                  ]
           Defendant.                             ]

                          MOTION TO AMEND COMPLAINT AND
                           REMAND CASE TO STATE COURT

                   Comes the plaintiff, Lori Wilhoit, by and through her attorney, Howell H.

    Sherrod, Jr., and would amend the original Complaint pursuant to Rule 15.01 as follows:

    1.     That the original Complaint is incorporated herein by reference as though fully and

    completely copied verbatim.

    2.     That the Counterclaim only constitutes a claim for reimbursement which, at most,

    would appear to be under $5,000 for payments made to date.

    3.     That any future payments that could be owed would be reimbursed to the

    Counterclaimant and would constitute a lien on any recovery by Wilhoit from the

    responsible party.

    4.     That the ad damnum clause, be amended to read:

           PREMISES CONSIDERED, PLAINTIFF PRAYS:

           1.      That the Court render a judgment for declaratory relief relative to the

           rights, duties, status and other legal relations between the parties including but

           not limited to whether or not Wilhoit’s claim has been wrongfully denied.

           Additionally, Wilhoit seeks compensatory and punitive damages as may appear




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            to be proper in the amount not to exceed Forty-five Thousand Five Hundred

            Dollars ($45,500.00).

            2.      Such other further and general relief to which she may be entitled.

    5.      That this cause be remanded to state court for lack of jurisdiction as amended.



                                                    Respectfully submitted,

                                                    Lori K. Wilhoit

                                               By: s/Howell H. Sherrod, Jr.

                                                    Howell H. Sherrod, Jr., BPR No. 842
                                                    Attorney for Plaintiff
                                                    SHERROD, GOLDSTEIN & LEE
                                                    249 East Main Street
                                                    Johnson City, Tennessee 37604
                                                    (423) 928-8321


                                    CERTIFICATE OF SERVICE

                    I hereby certify that on August 12, 2009, a copy of the foregoing Motion to

    Amend Complaint and Remand Case to State Court was filed electronically. Notice of this

    filing will be sent by operation of the Court’s electronic filing system to all parties indicated

    on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties

    may access this filing through the Court’s electronic filing system.



                                                    s/Howell H. Sherrod, Jr.

                                                    Howell H. Sherrod, Jr.
                                                    TN BPR #842
                                                    249 East Main Street
                                                    Johnson City, TN 37604
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